                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
                  Plaintiff,
         v.                                          Case No. 05-CR-240

ROGELIO GUARNERO,
                Defendant.


                  ORDER DENYING MOTION FOR BAIL REVIEW


         On November 24, 2008, this court revoked the defendant’s bond and entered an order of

detention. At that time, the court indicated that it would consider reinstatement of the defendant’s

conditions of release after an appropriate period of time. The defendant had violated the conditions of

his release by being arrested for shoplifting; he admitted at the hearing that he had done a “stupid”

thing.

         On December 17, 2008, the court conducted another hearing to review the defendant’s status.

Mr. Guarnero advised the court that he had “learned his lesson” and gave his word that he would do no

more stupid things. The court reinstated the conditions of his release. In slightly over one month, Mr.

Guarnero was arrested for retail theft. On January 28, 2009, the court revoked his bond and again

entered an order of detention.

         The defendant has now filed a motion seeking a reinstatement of his conditions of release. In

the motion, counsel for the defendant indicates that he has spoken to the Assistant U.S. Attorney, who

does not object to the defendant’s release on conditions. In addition to the motion, the defendant has

submitted a hand-written letter in which he apologizes for his “poor decision” and states that he has

“truly learned my lesson.”



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       Whatever “lesson” Mr. Guarnero may have learned does not stick with him very long. A review

of the court docket will establish that this court has been very lenient with the defendant and provided

him with many opportunities to demonstrate that he will not repeat conduct that jeopardizes his bond.

However, even in the state system, where Mr. Guarnero had his probation revoked on two occasions,

his conduct of violating his conditions of release has not abated. It simply repeats itself. In fact, after

initially releasing the defendant on bond, Mr. Guarnero wrote a letter to the court extending his thanks

for being given the “opportunity to prove that I can be a responsible and productive adult.”

       There is no doubt that the defendant means well, but time and again, Mr. Guarnero has failed

to live up to his promises. The court declines to engage in a revolving door policy with the defendant

being in and out of custody. He is where he belongs, based on his own actions. Accordingly, the

defendant’s motion for bail review is denied.

       SO ORDERED.

       Dated at Milwaukee, Wisconsin, this 1st day of April, 2009.

                                               BY THE COURT:

                                               s/AARON E. GOODSTEIN
                                               United States Magistrate Judge




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